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11                               UNITED STATES DISTRICT COURT
12                              WESTERN DISTRICT OF WASHINGTON
13                                        IN SEATTLE
14
15
16   STATE OF WASHINGTON,                      )        Case No. CR14-246RAJ
17                                             )
18             vs.                             )        ORDER GRANTING
19                                             )        MOTION TO SEAL DOCUMENT
20   TANYA JEFFERSON,                          )
21                 Defendant.                  )
22                                             )
23
24
25             THIS MATTER comes before the court upon Defendant’s Motion to Seal
26   Document, and the court finding good cause,
27             IT IS ORDERED that Defendant’s Motion to File Document Under Seal
28   (Dkt. #70) is GRANTED and the document filed under Dkt. #71 may remain filed
29   under seal.
30             DATED this 20th day of February, 2015.


31                                                      A
32                                                      The Honorable Richard A. Jones
33                                                      United States District Judge
34


     ORDER GRANTING MOTION TO SEAL                                  THE LAW OFFICE OF LISA MULLIGAN
     DOCUMENT                                                              1300 HOGE BUILDING
                                                                            705 SECOND AVENUE
                                                                            SEATTLE, WA 98104
     PAGE 1 OF 1                                                 lisamulliganlaw@gmail.com206-707-9361
